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 6                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
 7                                      AT SEATTLE

 8 UNITED STATES OF AMERICA,

 9                               Plaintiff,             Case No. CR12-251 TSZ

10         v.                                           DETENTION ORDER

11 ALEXANDER MIHAILOVSKI,

12                               Defendant.

13         The Court has conducted a detention hearing under 18 U.S.C. § 3142(f), and concludes

14 there are no conditions which the defendant can meet which would reasonably assure the

15 defendant’s appearance as required or the safety of any other person and the community.

16         FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

17         In 2012, defendant was indicated for conspiracy to commit wire fraud, accessing

18 protected computer in furtherance of fraud and intentional damage to a protected computer. The

19 government proffered that defendant learned of these charges, as his co-defendant was arrested

20 and prosecuted and successfully evaded arrest and prosecution for about three years. The

21 evidence against defendant is strong; the government has obtained communications between

22 defendants and other participants discussing the fraud scheme. The crimes are significant and

23 have had a global impact. The government indicated there are nearly a million alleged victims



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 1 and tens of millions in financial losses. The defendant poses a danger to the community given

 2 the nature of the offense. The co-defendant in the case is still at large and appears to be living in

 3 a country which has no extradition treaty with the United States. Defendant has no ties to the

 4 community and no ties to the country. He has no legal status in this country and thus no ability

 5 to engage in gainful employment. He is here only by because he was arrested while traveling in

 6 Europe in a country that has an extradition treaty with the United States.

 7          It is therefore ORDERED:

 8          (1)     Defendant shall be detained pending trial and committed to the custody of the

 9 Attorney General for confinement in a correctional facility separate, to the extent practicable,

10 from persons awaiting or serving sentences, or being held in custody pending appeal;

11          (2)     Defendant shall be afforded reasonable opportunity for private consultation with

12 counsel;

13          (3)     On order of a court of the United States or on request of an attorney for the

14 Government, the person in charge of the correctional facility in which Defendant is confined

15 shall deliver the defendant to a United States Marshal for the purpose of an appearance in

16 connection with a court proceeding; and

17          (4)     The Clerk shall provide copies of this order to all counsel, the United States

18 Marshal, and to the United States Probation and Pretrial Services Officer.

19          DATED this 29th day of January, 2016.

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                                                                  A
                                                          BRIAN A. TSUCHIDA
                                                          United States Magistrate Judge
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